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                                                         UNITED STATES DISTRICT COURT
                                                                   FOR THE
                                                                                                         2522 AUG I9 PH t2: Oi
                                                             DISTRICT OF VERMONT


                                 TROY WILLIAMS,
                                                 Plaintiff,

                                 V.                                                     CIVIL ACTION No.    Q:rJJ_-cv- /5'8
                                 UNITED STATES OF AMERICA,
                                                 Defendant.

                                                                       COMPLAINT

                                          Plaintiff, Troy Williams, by and through his attorneys, Shillen Mackall &

                                 Seldon Law Office, P.C., complaints and alleges against Defendant, United States of

                                 America, as follows:

                                                                        The Parties

                                 I.       Plaintiff, Troy Williams, is a resident of the State of Vermont who sustained

                                          injuries caused by the negligent act(s) and/or omission(s) of an employee or

                                          employees of the United States Postal Service (USPS) acting within the scope

                                          of his or her or their employment.

                                 2.       Defendant, United States of America, is liable to Plaintiff for personal injuries

                                          caused to Plaintiff by the negligent and/or wrongful act(s) and/or omission(s)

                                          of an employee or employees of USPS acting within the scope of his or her or

                                          their employment.
      LAW OFFICE OF
                                                                  Jurisdiction and Venue
      SHILLEN
      MACKALL                             The Federal Tort Claims Act, 28 U.S.C. § 1346, et seq. authorizes recovery for
             &                   3.
       SELDON
                                          personal injury caused by the negligence of a federal government employee
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                                          acting within the scope of his or her or their employment.
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                               4.       On or about January 10, 2019, Plaintiff sustained personal injuries caused by

                                        the negligence of an employee or employees of USPS at the White River

                                        Junction Processing and Distribution Center (WRJ Center) located at 195

                                        Sykes Mountain Ave, White River Junction, Vermont 05001.

                               5.       On or about July 13, 2020, within two years of accrual, Plaintiff presented to

                                        USPS, the appropriate government agency, a claim under the Federal Tort

                                        Claims Act for the personal injuries he suffered from the act(s) and/or

                                        omission( s) of an employee or employees of USPS on or about January 10,

                                        2019.

                               6.       On March 2, 2022, USPS mailed to Plaintiff a final denial of Plaintiffs

                                        administrative claim and informed Plaintiff of his right to file suit in a United

                                        States District Court no later six (6) months from the date of mailing. This suit

                                        is filed within six (6) months from the date of mailing of the determination of

                                        USPS.

                               7.       Because the acts and omissions complained of took place in Vermont, Plaintiff

                                        is a resident of Vermont, and this case is brought pursuant to the Federal Tort

                                        Claims Act, this suit is filed in the appropriate federal district court. 28 U.S.C.

                                        §§1391, 1402(b).

                                                                        The Facts

                               8.       On January 10, 2019, Troy Williams was injured while he assisted personnel of
      LAW OFFICE OF


     SHILLEN                            USPS with loading mail onto an RSD Transportation, Inc. trailer at the WRJ
     MACKALL
         &
      SELDON                            Center.
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                                9.       USPS owns, operates, and maintains the WRJ Center, which includes a loading

                                         dock elevated several feet above ground level for loading and unloading mail

                                         to and from trailers backed up to the loading dock.

                                10.      At all times material hereto and upon information and belief, RSD

                                         Transportation, Inc. was under contract with USPS for provision of mail

                                         transportation services between the WRJ Center and other post office facilities

                                         and destinations.

                                11.      At all times material hereto, Mr. Williams was employed as a driver by RSD

                                         Transportation, Inc., and his work duties required him to transport mail to and

                                         from the WRJ Center.

                                12.      At the WRJ Center, Mr. Williams was required to assist USPS personnel with

                                         loading mail onto an RSD Transportation, Inc. trailer from the WRJ Center

                                         loading dock, tie or strap mail containers in the trailer where necessary, and

                                         sign for certified mail.

                                13.      To assist with loading and unloading trailers, the WRJ Center uses dockboards

                                         or dock levelers that bridge the gap between the loading dock and the trailer of

                                         a transport vehicle allowing for a continuous walking surface between the

                                         loading dock and trailer.

                                14.      At all times material hereto, the dock levelers used at the WRJ Center were

                                         operated by a push button controller that, when pushed, lifted the lip of the
      1AW OFFICE OF

     SHILLEN                             dock leveler from the stored position and extended the lip over the gap between
     MACKALL
         &
      SELDON                             the loading dock and trailer.
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                                15.   When not in use, the dock levelers were stored, also by operation of the push

                                      button controller, in an upright or vertical position on the edge of the loading

                                      dock and, in the stored position, several inches of the lip of the dock leveler

                                      extended above the adjacent loading dock walking surface.

                                16.   The dock levelers used at the WRJ Center are controlled and operated by USPS

                                      personnel.

                                17.   On January 10, 2019, Mr. Williams was assisting with loading mail onto an

                                      RSD Transportation, Inc. trailer at the WRJ Center when an employee of the

                                      USPS instructed or requested Mr. Williams to sign for certified mail on the

                                      loading dock. Upon information and belief, the employee of the USPS is

                                      named, "Tammie Hammond."

                                18.   At the time the USPS employee instructed or requested Mr. Williams to sign

                                      for certified mail on the loading dock, Mr. Williams had not completed his

                                      tasks to ensure the trailer was loaded, and the mail was not yet tied or strapped

                                      in the trailer.

                                19.   Mr. Williams complied with the USPS employee's instruction or request by

                                      exiting the trailer, traversing the bridge created by the dock leveler, and

                                      entering the loading dock where the USPS employee was standing.

                                20.   A second USPS employee pushed the button to return the dock leveler to the

                                      stored position while Mr. Williams was facing away from the trailer and
      LAW OFFICE OF

      SHILLEN                         signing for certified mail, and the dock leveler was returned to the stored
      MACKALL
             &
       SELDON                         position. Upon information and belief, the second USPS employee is named,
SUNSET FARM OFFICES -SUITE 2A
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                                 21.   Mr. Williams was unaware that the dock leveler was returned to the stored

                                       position and, after signing for certified mail, Mr. Williams turned around to

                                       enter the trailer and finish tying or strapping the loaded mail in the trailer.

                                 22.   As Mr. Williams entered the trailer, he tripped over the lip of the dock leveler

                                       extending above the adjacent loading dock surface, fell forward into the open

                                       trailer, and landed on his extended upper extremities.

                                 23.   The force of falling into the trailer caused Mr. Williams to suffer immediate

                                       pain and sustain significant and traumatic injuries to his bilateral upper

                                       extremities, back, and hips.

                                 24.   Mr. Williams's resulting injuries caused him to endure pain and suffering,

                                       undergo and incur the cost of extensive medical treatment and hospitalization,

                                       and sustain disfigurement from surgical scars.

                                 25.   Additionally, Mr. Williams's resulting injuries caused him to experience

                                       disability, lose wages and benefits, lose enjoyment oflife, and lose earning

                                       capacity.

                                 26.   The losses and injuries experienced by Mr. Williams were the direct result of

                                       the actions and inactions of USPS personnel and are either permanent or

                                       continuing.

                                                                         The Law

                                 27.   Under the Federal Tort Claims Act, the United States has waived its sovereign
      LAW OFFICE OF

      SHILLEN                          immunity for injuries caused by the "negligent or wrongful act or omission" of
      MACKALL
         &
      SELDON                           a federal government employee while that employee is "acting within the scope
SUNSET FARM OFFICES - SUITE ZA
 21710 MAXHAM MEADOW WAY               of his office or employment." 28 U.S.C. § 1346(b).
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                                28.   Under the Federal Tort Claims Act, liability is determined by the law of the

                                      state where the act or omission occurred, and the liability of the United States

                                      is "in the same manner and to the same extent as a private individual under like

                                      circumstances." 28 U.S.C. §§ 1346(b), 2674; Richards v. United States, 369

                                      U.S. 1 (1962).

                                29.   To support a case alleging negligence under Vermont law, a plaintiff must

                                      show that the defendant owed the plaintiff a duty that was breached, which

                                      proximately caused injury to the plaintiff. Endres v. Endres, 185 Vt. 63, 68

                                      (2017).

                                30.   In Vermont, an owner or possessor of land has a duty to use reasonable

                                      diligence to maintain his or her property in a reasonably safe and suitable

                                      condition. Wakefieldv. Tygate Motel Corp., 161 Vt. 395, 397-98 (1994);

                                      McComack v. State, 150 Vt. 443, 445 (1988). Further, the duty of a landowner

                                      or business owner "is to use reasonable care for the safety of all ... persons

                                      invited upon the premises." Demag v. Better Power Equip., Inc., 197 Vt. 176,

                                      187 (2014).

                                31.   In Vermont, an owner or possessor of land owes persons lawfully on its

                                      premises a duty of care to operate its machinery in a reasonably safe manner.

                                32.   Additionally, USPS is subject to Public Law Number 91-596, the

                                      Occupational Safety and Health (OSH) Act of 1970, pursuant to the Postal
      LAW OFFICE OF


      SHILLEN                         Employees Safety Enhancement Act (PESEA) of 1998. The Occupational
      MACKALL
             &
       SELDON                         Safety and Health Administration (OSHA) is responsible for promulgating
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                                      standards and regulations under the OSH Act, and promulgated rules governing

                                      the use of dockboards, walking-working surfaces, and fall hazards.

                                                          CLAIM ONE: NEGLIGENCE

                                33.   Plaintiff re-alleges and incorporates by reference paragraphs 1 through 32

                                      above as though fully set forth herein.

                                34.   At all times material hereto, USPS personnel, including Mr. Martin and Ms.

                                      Hammond, were acting in the course and scope of their employment.

                                35.   At all times material hereto, USPS personnel, including Mr. Martin and Ms.

                                      Hammond, owed a duty to Mr. Williams to maintain the loading dock in a

                                      reasonably safe and suitable condition.

                                36.   At all times material hereto, USPS personnel, including Mr. Martin and Ms.

                                      Hammond, breached the duty owed to Mr. Williams by, among other acts and

                                      om1ss10ns:

                                          a. Failing to take reasonable inspections to ensure the loading dock was in

                                              a reasonably safe condition;

                                          b. Creating an unreasonably dangerous condition on the loading dock;

                                          c. Failing to warn Mr. Williams of the unreasonably dangerous condition

                                              on the loading dock;

                                          d. Failing to have in place and erect proper barricades or other fall

                                              protection systems;
      LAW OFFICE OF

      SHILLEN                             e. Failing to adhere to the principles, agreements, and express and implied
      MACKALL
         &
      SELDON                                  warranties set forth in the contract between USPS and RSD
SUNSET FARM OFFICES -SUITE 2A
 217 IO MAXHAM MEADOW WAY                     Transportation, Inc.; and otherwise
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                                           f.   Failing to exercise reasonable care and caution in the operation of its

                                                equipment.

                                3 7.   Defendant's breach of duty directly and proximately caused Mr. Williams to

                                       sustain injuries and/or damages.

                                                        CLAIM TWO: FAILURE TO TRAIN

                                38.    Plaintiff re-alleges and incorporates by reference paragraphs I through 32

                                       above as though fully set forth herein.

                                39.    Defendant, the United States of America, by and through USPS, owed a duty

                                       to all persons legally on the premises of the WRJ Center, to train each

                                       employee who uses a dockboard or dock leveler, including Mr. Martin, to

                                       properly use, place, and secure its dockboards or dock levelers.

                                40.    At all times material hereto and upon information and belief, Defendant

                                       breached its duty by failing to train its personnel, including Mr. Martin, in the

                                       proper use, placement, and securing of its dockboards or dock levelers.

                                41.    At all times material hereto and upon information and belief, Defendant's

                                       failure to properly train its personnel, including Mr. Martin, in the use,

                                       placement, and/or securing of dockboards and/or dock levelers caused the

                                       dockboard or dock leveler to be improperly used, placed, and/or secured.

                                42.    At all times material hereto and upon information and belief, the improper use,

                                       placement, and/or securing of the dockboard or dock leveler directly and
      LAW OFFICE OF

      SHILLEN                          proximately caused Mr. Williams to sustain injuries and/or damages.
      MACKALL
          &
       SELDON                           WHEREFORE, Plaintiff, Troy Williams, demands judgment in his favor
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                                just and appropriate but in no event more than the amount claimed in his

                                administrative tort claim.

                                Dated: August 18, 2022               TROY WILLIAMS, Plaintiff



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                                                                                        &                PC
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